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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ALIRIO ZAVALA, JUAN CARLOS DIAZ, :
ALEXANDER GONZALEZ, JAUME V
ILLAGRASA, LUIS TORRES, JOSE                          :
BRICENO, LUCIANO EMIGDIO,
NICOLAS VELASQUEZ, GUSTAVO                            :
RANGEL, ARODIS HERRERA, JORGE
GUERRERO, SEGUNDO MORALES                             :
MARTINEZ, AHAGUN MEREJILDO,
JAIME GRANADA, JOHN JAIME                             :
RIVERA ALAYON, ANDRES TORRES,
ERNESTO ALEJANDRO SANCHEZ, and :
EDUARDO CRUZ GONZALEZ,
                                                      :
                                    Plaintiffs,
                                                      :
                  -against-                                        ORDER
                                                      :
PEI ELECTRICAL SERVICES GROUP                               20-CV-9437 (PAE) (KNF)
INC., CPI ELECTRICAL SERVICES INC., :
PABLO IBEPAULINO, and TOP SHELF
ELECTRIC CORP.,                                       :

                                    Defendants. :
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KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

        IT IS HEREBY ORDERED that a telephone conference shall be held in the above-

captioned action on November 19, 2021, at 3:30 p.m. All parties are directed to call (888) 557-

8511 and, thereafter, enter access code 4862532.


Dated: New York, New York                                          SO ORDERED:
       November 18, 2021
